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 4
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 5

 6                                      UNITED STATES DISTRICT COURT

 7                                      EASTERN DISTRICT OF CALIFORNIA

 8

 9   UNITED STATES OF AMERICA,                         No. 2:14-CR-00220-KJM

10                         Plaintiff,                  STIPULATION & [PROPOSED] ORDER
                                                       TO MODIFY PRETRIAL RELEASE
11          v.                                         CONDITIONS

12   WEI HU,

13                         Defendant.

14
            Defendant herein, Wei Hu, is on pretrial release; presently he is on electronic home
15
     monitoring. Mr. Hu has had no problems while on pretrial release. His present curfew requires
16
     him to be at home between the hours of 7 p.m and 7 a.m.
17

18          The defendant is requesting that he be allowed on Thanksgiving Day, November 27, 2014,

19   to extend his curfew until midnight because he lives in Stockton, CA, and wants to have

20   thanksgiving dinner with his family in Alameda, CA. The extended curfew will accommodate
21
     the travel time between Alameda and Stockton.
22
            Defense counsel spoke with U.S. Pretrial Services Officer Renee Basurto and she stated
23
     that Mr. Hu is in compliance with all the conditions of his pretrial release. As this request for an
24
     extension is not for employment, medical or religious reasons, Pretrial Services will defer to the
25

26   Court’s discretion.

27          Further, defense counsel discussed this matter with Assistant U.S. Attorney Michael
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                                                       1
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 1   McCoy and he has informed defense counsel to indicate to this Court that he has no objection to
 2   the proposed modification of curfew on Thanksgiving.
 3
            It is hereby stipulated by Stuart Hanlon, attorney for defendant herein, Wei Hu, and Mike
 4
     McCoy, Assistant U.S. Attorney that Mr. Hu be allowed to modify his pretrial release conditions
 5
     from home detention to extend his curfew from 7 p.m. to midnight on Thanksgiving, Thursday,
 6

 7   November 27, 2014.

 8          All other conditions of pretrial release remain the same.

 9
     Dated: November 25, 2014                             s/Stuart Hanlon, CSBN: 66104
10
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                                                          San Francisco, CA 94103
12                                                        415/864-5600
                                                          stuart@stuarthanlonlaw.com
13
     Dated: November 25, 2014                             s/Michael McCoy
14
                                                          Assistant U.S. Attorney
15                                                        Office of the U.S. Attorney

16

17
                                                 ORDER
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19
            Good cause having been shown by stipulation of the parties herein,
20
            IT IS HEREBY ORDERED that defendant, Wei Hu’s, pretrial release condition of home
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22   electronic monitoring be modified to allow an extension of his curfew from 7 p.m. to midnight on

23   November 27, 2014. All other conditions of pretrial release remain the same.

24   Dated: November 26, 2014
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